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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF MARYLAND
                                GREENBELT DIVISION

IN RE                                                   BANKRUPTCY NO. 12-21985-WIL

JUDIA FAY HERRINGTON                                    CHAPTER 13
  DEBTOR(S)

WELLS FARGO BANK, NA
  MOVANT

VS.

JUDIA FAY HERRINGTON, DEBTOR(S)
  RESPONDENT(S)

                MOTION SEEKING RELIEF FROM STAY
AS TO PROPERTY KNOWN AS 4721 QUADRANT STREET, CAPITAL HEIGHTS, MD
                               20743

         Wells Fargo Bank, NA, by its undersigned attorney, files this Motion for Relief From Stay and for

cause states:

1.       The Respondent-Debtor(s), Judia Fay Herrington, filed a Petition for relief under 11 U.S.C. Chapter

13 on June 27, 2012, Case Number 12-21985-WIL, in the United States Bankruptcy Court for the District of

Maryland. The Trustee is Timothy P. Branigan.

2.       This Court has jurisdiction over this contested matter pursuant to 11 U.S.C. Sections 105 and 362, 28

U.S.C. Section 157, and Rule 9014 of the Bankruptcy Rules of Procedure. Further, the Movant, pursuant to

Local Rules 7012-1(b) and 9013-6, consents to the entry of final orders or judgments by the Bankruptcy

Judge as to this motion.

3.       Debtor(s) executed a promissory note secured by a mortgage or deed of trust. The promissory note

is either made payable to Creditor or has been duly indorsed. Creditor, directly or through an agent, has

possession of the promissory note. Creditor is the original mortgagee or beneficiary or the assignee of the

mortgage or deed of trust.

4.       A copy of the Note is attached as Exhibit A.
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5.         The Deed of Trust/Mortgage in the original amount of $258,936.00 dated October 5, 2005, and

recorded among the Land Records of Prince Georges County in Liber No. 23633, folio 482, from Judia

Herrington to Larry G. Dillon and James H. Hudson, III, Trustee. A copy of the Deed of Trust/Mortgage is

attached hereto as Exhibit B.

6.         A copy of the Assignment is attached hereto as Exhibit C.

7.         The terms of the Debt Agreement were amended by a loan modification entered into by and

between Wells Fargo Bank, N.A. and Debtors(s) dated October 18, 2012 (the “Loan Modification

Agreement”). A copy of the loan modification is attached hereto as Exhibit D.

8.         The Deed of Trust/Mortgage grants and conveys to the Movant as security all that real property in

Prince Georges County known as 4721 Quadrant Street, Capital Heights, MD 20743.

9.         As of September 13, 2017, the entire debt under the Deed of Trust/Mortgage is now due and

payable as follows:


Principal Balance                                                                                    $285,419.47
Interest                                                                                              $31,730.70
Escrow Advances                                                                                       $10,158.64
Less Monies in Suspense                                                                                  $265.00
Grand Total                                                                                          $327,043.81




10.        The amount of the pre-petition arrearages at the time of the filing of the Bankruptcy was $777.74.

11.        The amount of the post-petition arrearages is $58,920.00.

12.        The Chapter 13 plan was confirmed on March 19, 2013.

13.        That since the filing of the petition the Debtor(s) has made payments which have been applied to the

post-petition payments due July 1, 2012 through November 1, 2014, however post-petition payments due

December 1, 2014, through September 1, 2017 have not been received. The arrearages continue to increase.

14.        That in order to protect its interest the Movant will be required to pay real property taxes and hazard

insurance on said property.
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15.     The property is not necessary to an effective reorganization.

16.     That there is no reasonable likelihood of an effective reorganization.

17.     That Movant does not have adequate protection.

18.     The Debtor has no equity in the property. There are no other known liens on the property.

19.     Prior to the date of the filing of the Petition, the Debtor(s) defaulted on the payments provided for

in the Deed of Trust/Mortgage.

20.     Attached hereto is the Declaration in Support of Motion for Relief from Automatic Stay as Exhibit

E.

21.     Pursuant to Local Rule 9013-2, no separate memorandum will be filed and Movant will rely solely

upon the information set forth in this motion.

22.     Upon lifting of the stay, the Movant will no longer be accepting Trustee payments, and will be in

effect waiving its rights under proof of claim.

        WHEREFORE, the Movant, prays the following relief:

A.      That this Honorable Court enter an Order granting Relief from Stay permitting the Movant to

foreclose its Deed of Trust/Mortgage and

B.      Such other and further relief as may be requisite.


                                                                   ______________________________
                                                                _________________________________
                                                                Mark S. Devan
                                                                Bar Number 07743
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                                                                11350 McCormick Road
                                                                Executive Plaza III, Suite 200
                                                                Hunt Valley, MD 21031
                                                                (443) 541-8600
                                                                Attorney for Movant
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                                    CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a copy of the Motion Seeking Relief from Stay was mailed first class,
postage paid, this 28th day of September, 2017 to:
Judia Fay Herrington
4721 Quadrant Street
Capital Heights, MD 20743


       I HEREBY CERTIFY that a copy of the Motion Seeking Relief from Stay was uploaded through
the Court's ECF System at the e-mail address register with the court on, this 28th day of September, 2017 to:

John Douglas Burns
6303 Ivy Lane, Ste. 102
Greenbelt, MD 20770
ecf@burnsbankruptcyfirm.com

Timothy P. Branigan, Bankruptcy Trustee
14502 Greenview Drive
Suite 506
Laurel, MD 20708
cmecf@chapter13maryland.com

                                                               /s/ Mark S. Devan
                                                               Mark S. Devan
                                                               bankruptcy@albalawgroup.com
